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FH.ELJ ‘;'r' wm »_)_C
IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN 27 PH c.- 915

WESTERN DIVISION

 

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ALLISON DEVANTE and
JOREAL DEVANTE,

Plaintiff,

vs. ) NO. 04-2700 BV

LES BROWNLEE, SECRETARY OF THE
UNITED STATES ARMY,

Defendant.

v-_¢\_¢h_u`_¢

 

ORDER GRANTING DEFENDANT’S MOTION TO STAY DISCOVERY

 

Before the court is the May 26, 2005 motion of the defendant,
Les Brownlee, Secretary of the United States Army, for an order
granting his motion to stay discovery pending resolution of the
Defendant Secretary's Motion to Dismiss, Doc. No. ll. The motion
has been referred to the United States Magistrate Judge for
determination. For the following reasons, the motion is granted.

Pursuant to Local Rule 7.2(a)(2), responses to nmtions in
civil cases are to be filed within fifteen days after service of
the motion. The plaintiffs, Allison Devante and Joreal Devante,
have not filed a response to this motion, and the time for
responding has now expired.

Rule 7.2{a)(2) further provides that “[f]ailure to respond

timely to any motion. other than one for requesting dismissal of a

Thfs document entered on the docket sheet In com fiance /
with Rule 58 and/or 79{a) FRCP on 42 *'g/<¢j 12 § 49

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claim or action, may be deemed good grounds for granting the
motion." In the absence of any response by the plaintiffs,
Brownlee's motion to stay discovery pending resolution of his
motion to dismiss is granted.

IT IS SO ORDERED this 27th day Of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02700 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

